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16
                                UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA

18   DANIEL COYNE, individually and on behalf of        Case No.: 2:22-cv-00475-APG-DJA
     those similarly situated; DAVID DENTON,
19
     individually and on behalf of those similarly
20   situated; and SEAN BOLLIG, individually and              STIPULATION AND ORDER TO
     on behalf of those similarly situated                   EXTEND DISCOVERY DEADLINES
21
                                    Plaintiff(s),                   (THIRD REQUEST)
22                  vs.
     LAS VEGAS METROPOLITAN POLICE
23
     DEPARTMENT;
24                                  Defendant(s).
25          Plaintiffs Daniel Coyne, David Denton, and Sean Bollig (hereinafter “Plaintiffs), by and
26   through their undersigned counsel, and Defendant Las Vegas Metropolitan Police Department
27   (“Defendant” or “LVMPD”), by and through its undersigned counsel, hereby submit the following
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 1    Stipulation and Order to Extend Discovery Deadlines (Third Request). The Court granted the

 2   parties’ Stipulation and Order to Extend Discovery Deadlines (Second Request) on November
     12, 2024 [ECF No. 129]. The parties now seek to extend all discovery deadlines contained in the
 3
     Stipulation
 4                 and Order to Extend Discovery Deadlines (Second Request) by 180 days.

 5          The parties recently participated in a two-day mediation session with the Hon. (Ret.) Jackie

 6   Glass at Advanced Resolution Management. The mediation sessions took place on December 12,

 7   2024 and January 22, 2025. The parties were unable to reach a resolution as to both this matter and

 8   the related state court action, currently pending in the Eighth Judicial District Court under Case No.

 9   A-22-848354-C (the “State Court Action”). Accordingly, the parties are proceeding with litigation.

10          Therefore, the parties respectfully ask this Court to enter an Order granting this extension
      and in support thereof state as follows:
11

12      Discovery Completed:

13      1. Defendant served its initial disclosures pursuant to FRCP 26 on May 3, 2022.

14      2. Plaintiffs served their initial disclosures pursuant to FRCP 26 on May 31, 2022.

15      3. Defendant propounded its first set of Interrogatories, Requests for Admission, and Requests

16          for Production of Documents on the named Plaintiffs and certain opt-in Plaintiffs, pursuant

17          to the limited discovery ordered by the Court on the issue of preliminary collective action

18          certification, on January 26, 2023.

19      4. Plaintiffs served written responses to Defendant’s first set of Interrogatories, Requests for

20          Admission, and Requests for Production of Documents on March 29, 2023.

21      5. Plaintiffs served their first supplemental disclosures pursuant to FRCP 26 on May 29, 2023.

22      6. Defendants took the depositions of Plaintiffs Sean Bollig, Daniel Coyne, David Denton,

23          Liovany Garcia, and James Parker, Jr. in February and March of 2023, pursuant to the limited

24          discovery ordered by the Court on the issue of preliminary collective action certification.

25      7. The Court granted preliminary certification of a collective action on August 15, 2023. [ECF

26          No. 107]. The deadline for eligible individuals to join the lawsuit as opt-in Plaintiffs was

27          December 14, 2023. [ECF No. 113]. As of this date, 1,595 individuals have joined this action

28          as opt-in Plaintiffs. [ECF No. 120, 121].
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 1     8. Plaintiffs propounded their first set of Requests for Admission and Requests for Production

 2        of Documents on Defendant on March 14, 2024.

 3     9. Defendant served written responses to these discovery responses on April 18, 2024. In

 4        response to the Requests for Production, Defendant produced approximately 75,000 pages of

 5        documents.

 6     10. On June 5, 2024, Plaintiffs filed a Motion seeking court-approval for the retention of Bailey

 7        Kennedy, LLP as co-counsel, along with Sgro & Roger. [ECF No. 126]. The Court granted

 8        the Motion on July 29, 2024. [ECF No. 127].

 9     11. On June 28, 2024, Plaintiffs served a discovery letter on Defendant, identifying certain

10        responses to Plaintiffs’ Requests for Production that Plaintiffs alleged were deficient.

11        Defendant agreed to produce additional documents in response to the June 28, 2024 letter.

12     12. On or about August 7, 2024, Defendant produced approximately 54,586 pages of additional

13        documents.

14     13. On or about August 14, 2024, Defendant produced a flash drive containing 8 excel

15        spreadsheets.

16     14. On or about December 17, 2024, Defendant produced a “sample” of certain information

17        pertaining to 15 of the 1,598 Plaintiffs.

18     15. On or about January 3, 2025, Defendant served an additional production containing

19        approximately 103,123 pages of documents.

20     Discovery Remaining to be Conducted:

21     1. Plaintiffs contend that certain of Defendant’s responses to Plaintiffs’ Requests for Production
22        remain deficient and on February 10, 2025, Plaintiffs’ counsel sent an email to counsel for the
23        Defendant outlining the alleged deficiencies. Defendant disagrees with Plaintiffs’ contentions.
24        Defendant is in the process of reviewing and responding to that email correspondence. Should
25        an impasse occur, the parties will meet and confer as required by the rules before any motion
26        practice occurs.
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 1       2. Additional written discovery pertaining to final certification/decertification as well as

 2           purported damages and liability.

 3       3. Depositions of the Plaintiffs and Defendant’s 30(b)(6) designees;

 4       4. Depositions of percipient witnesses;

 5       5. Initial and Rebuttal expert disclosures; and

 6       6. Depositions of disclosed expert witnesses, as deemed appropriate or necessary by the parties.

 7       Reasons in Support of Request for Extension to Complete Discovery:

 8           This is a document-intensive case which includes 1,598 Plaintiffs (the three initial Plaintiffs

 9   and 1,595 opt-ins). To date, Defendants have produced over 230,000 pages of documents, with the

10   last production occurring on January 3, 2025. Defendant’s last production contained in excess of

11   100,000 pages, which Plaintiffs are still reviewing. Further, substantial additional documentation

12   will likely be necessary to allow both sides to fully analyze the issues in this case and be prepared to

13   brief final certification/decertification issues. Additionally, it is Plaintiffs’ position that because

14   Defendant’s productions have largely been produced in PDF format, it is not conducive to the data

15   analysis that Plaintiffs are attempting to conduct. The parties will continue to meet and confer to

16   establish if the information can be produced in a more useable format to ensure efficient review and

17   analysis.

18           The parties recently participated in two full days of mediation on December 12, 2024, and

19   January 22, 2025, in an effort to reach a potential resolution. The efforts in preparation for and

20   during the mediation were substantial on both sides. During this time, expert disclosures were

21   temporarily put on hold to minimize unnecessary costs should a settlement be reached. However, as

22   mediation did not result in a resolution, the parties have resumed their focus on completing

23   discovery.

24           Finally, the Parties have attempted to coordinate the State Action and this matter. The State

25   Action and its class certification process was temporarily paused pending the outcome of mediation.

26   The parties are set to argue Plaintiffs’ Motion for Class Certification in the State Action on February

27   25, 2025. If class certification is granted in the State Action, the parties will likely seek to coordinate

28   discovery between both actions to enhance efficiency.
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 1   Proposed Revised Discovery Plan:

 2         Based on the foregoing, the parties respectfully request that the Court grant their joint request to

 3   extend the discovery deadlines by 180 days, and extend all discovery deadlines as follows:
                                       Current Deadline Date               New Deadline Date
 4
       Amending Pleadings and                   May 14, 2024                  No Extension Requested
 5
       Adding Parties
 6     Initial Expert Disclosures              March 10, 2025                     September 8, 2025

 7     Rebuttal Expert Disclosures              April 11, 2015                     January 6, 2026

 8     Discovery Cut Off                         May 12, 2025                     February 9, 2026

 9     Final Date to File                        June 12, 2025                     March 11, 2026
       Dispositive Motions
10
              The Joint Pretrial Order will now be due on April 10, 2026. However, in the event dispositive
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     motion(s) are filed, the date for filing the joint pretrial order shall be suspended until 30 days after
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     decision on the dispositive motion(s) or further order of the Court.
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 1   Further Extensions or Modifications of the Discovery Plan and Scheduling Order:
 2         In accordance with Local Rule 26-3, any future stipulation or motion to extend a deadline set
 3   forth in the discovery plan and scheduling order must be made not later than 21 days before the
 4   subject deadline. Any future stipulation or motion to extend the discovery cut-off must be made no
 5   later than twenty-one (21) days before the discovery cut-off date.
 6
     DATED this 14th day of February, 2025.              DATED this 14th day of February, 2025.
 7
     SGRO & ROGER                                        WHITMIRE LAW, PLLC
 8

 9   /S/ ALANNA C. BONDY, ESQ.                           /S/ JAMES WHITMIRE, ESQ.
     ALANNA C. BONDY, ESQ.                               JAMES E. WHITMIRE, ESQ.
10   ANTHONY P. SGRO, ESQ.
                                                         MARQUIS AURBACH
11   BAILEYKENNEDY                                      NICK D. CROSBY, ESQ.
     DENNIS L. KENNEDY, ESQ.                             JORDAN MONTET, ESQ.
12
     JOSEPH A. LIEBMAN, ESQ.                             Attorneys for Defendant
13   PAUL C. WILLIAMS, ESQ.
     Attorneys for Plaintiffs
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15                                                     ORDER
16
                                                       IT IS SO ORDERED.
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18                                                     _____________________________________
                                                       UNITED STATES MAGISTRATE JUDGE
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                                                                2/19/2025
                                                       DATED: _____________________
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